                                                 '•
                                                      "!? ;."""
                                                         $   ~
                                                                      ¥!'
                                                                             illf
                                                                                    -,:.:,• . ,
                                                                                                         -
                               ''                                 ~   .' .


'I,   ·...   ,,,.




                                                                                                  1, •




                    • l-   t


                                     • V




                               Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Page 1 of 7
Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Page 2 of 7
Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Page 3 of 7
Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Page 4 of 7
                                                                       ..(\ .



            "
,-
                                                                                • ii.Ill· '


                                                                      '' ·


                  ·"...,,~
                     ·~~~    ~--                     ..
                                                            .
     Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Pager 5 of 7
Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Page 6 of 7
             <i
                           ~~I''r
             k     r-         0       Q    0-
                                      --- <'c::...c
                                          ") c.__
                   IJJ
              ~




                                  . ::-
                                      ~
                                             >
                                           ~ ~
             >
             w
             0::
             0

                   a'>      "'· ~
                                  ~
                                           ~ J
                                           ~ fit
                   )?
                                  ~~ ~ ~
             ::,

             O'.
             "1
                   r-                      1·e-
             u
             0::
             ('

                   _:;»
                              _o (
                                  v-3 C-
                                  ~
                                           Lct
              ~i                  jJ
                                  tO
                                           I"°'.
                                           h-      0
                                                    ,
                                                   ~\ .
.?J;
V
~
r.c.
~
                   ,_                      l       0.
                                                   G)

                                                   O'
~j
t:i.
                          ...J
~
                          0
ro                        ~ .
~
-
I-
~

~
                          ~
I,; 1
                          rJ




        Case 3:18-cr-00029-RRB Document 83 Filed 06/15/20 Page 7 of 7
